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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                Plaintiff,            )
                                      )                  4:05CR3029-3
          v.                          )
                                      )
ARTHUR E. SHARPLEY,                   )                   TENTATIVE
                                      )                    FINDINGS
                Defendant.            )
                                      )


     I am in receipt of the presentence investigation report in this
case. The parties had no objections to the presentence report. See
Order of May 31, 2005. After consideration of the presentence
report,

     IT HEREBY IS ORDERED:

     (1) The parties are herewith notified that my tentative
findings are that the presentence report is correct in all respects;

     (2) If any party wishes to challenge these tentative findings,
said party shall, as soon as possible, but in any event at least five
(5) business days before sentencing, file in the court file and serve
upon opposing counsel and the court a motion challenging these
tentative findings, supported by (a) such evidentiary materials as
are required (giving due regard to the requirements of the local
rules of practice respecting the submission of evidentiary
materials), (b) a brief as to the law and (c) if an evidentiary
hearing is requested, a statement describing why an evidentiary
hearing is necessary and how long such a hearing would take;

     (3) Absent submission of the information required by
paragraph 2 of this order, my tentative findings may become final;

     (4) Unless otherwise ordered, any motion challenging these
tentative findings shall be resolved at sentencing.

     DATED this 8th day of August, 2005.

                                   BY THE COURT:


                                   s/ David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
